                             NUMBER 13-16-00359-CV

                             COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                      CORPUS CHRISTI - EDINBURG
____________________________________________________________

ALLYSON R. OLIVER AND WILLIAM C. OLIVER,                                     Appellants,

                                            v.

WELLS FARGO BANK, N.A.,                             Appellee.
____________________________________________________________

          On appeal from the County Court at Law No. 5
                   of Nueces County, Texas.
____________________________________________________________

                          MEMORANDUM OPINION
     Before Chief Justice Valdez and Justices Garza and Longoria
                  Memorandum Opinion Per Curiam

       Appellants, Allyson R. Oliver and William C. Oliver, perfected an appeal from a

judgment rendered against them in favor of appellee, Wells Fargo Bank, N.A. On August

8, 2016, the Clerk of the Court notified appellants that they were delinquent in remitting a

$205.00 filing fee. The Clerk of this Court notified appellants that the appeal was subject

to dismissal if the filing fee was not paid within ten days from the date of receipt of this

letter. See TEX. R. APP. P. 42.3(c).
       On August 10, 2016, the Clerk of this Court notified appellant that the clerk's record

in the above cause was originally due on June 16, 2016, and that the deputy district clerk,

Maria Flores, had notified this Court that appellants failed to make arrangements for

payment of the clerk's record. The Clerk of this Court notified appellants of this defect

so that steps could be taken to correct the defect, if it could be done. See TEX. R. APP.

P. 37.3, 42.3(b),(c).   Appellants were advised that, if the defect was not corrected within

ten days from the date of receipt of the notice, the appeal would be dismissed for want of

prosecution. The notice was sent to appellants’ address by certified mail return receipt

requested; however, the certified mail was returned as “not deliverable as addressed

unable to forward.”

       Texas Rule of Appellate Procedure 9.1(b) requires unrepresented parties to sign

any document filed and "give the party's mailing address, telephone number, fax number,

if any, and email address." See TEX. R. APP. P. 9.1(b). Appellants have not provided

this Court with a forwarding address nor taken any other action to prosecute this appeal.

       Appellants have failed to respond to this Court’s notices and have failed to pay the

filing fee. Accordingly, the appeal is DISMISSED FOR WANT OF PROSECUTION.

See TEX. R. APP. P. 42.3(b), (c).



                                                  PER CURIAM

Delivered and filed the
2nd day of September, 2016.




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